Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 1 of 18 PageID 170




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   UNITED STATES OF AMERICA,                   )
                                               )
                 Plaintiff,                    )
                                               )
          v.                                   )       Civil Case No. 8:17-cv-826-T26AEP
                                               )
   SAID RUM,                                   )
                                               )
                 Defendant.                    )
                                               )


           DEFENDANT SAID RUM’S MOTION FOR SUMMARY JUDGMENT
                  AND SUPPORTING MEMORANDUM OF LAW

          Defendant Said Rum, pursuant to Fed. R. Civ. P. 56, moves for summary judgment,

   on Plaintiff United States’ (“Plaintiff”) claim for penalties imposed under 31 U.S.C. § 5321,

   including interest and statutory additions claimed under 31 U.S.C. § 3717. Attached is Said

   Rum’s statement of undisputed facts. There is no genuine issue of material fact relevant to

   this motion and Said Rum is entitled to judgment as a matter of law.

                                       INTRODUCTION

          On April 7, 2017, The United States filed this case to reduce to judgment and collect

   the imposed Report of Foreign Bank and Financial Accounts (“FBAR”) penalties, together

   with accrued interest, late payment penalties, and associated fees. ¶29.1 On June 7, 2017,

   Said Rum served his Answer to Plaintiff’s Complaint. ¶30.

                                          STANDARD


   1
    All paragraph citations herein refer to Defendant Said Rum’s Statement of Material Facts in
   Support of His Motion for Summary Judgment.


                                                   1
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 2 of 18 PageID 171




          “The court shall grant summary judgment if the movant shows that there is no

   genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

   law.” Fed. R. Civ. P. 56(a). “Summary judgment should be rendered if the pleadings, the

   discovery and disclosure materials on file, and any affidavits show that there is no genuine

   issue as to any material fact and that the movant is entitled to judgment as a matter of law.”

   Thermo-Ply, Inc. v. Ohio Willow Wood Co., No. 8:05-CV-779-T-17MAP, 2014 U.S. Dist.

   LEXIS 9667, at *2 (M.D. Fla. Jan. 24, 2014). “‘The plain language of Rule 56(c) mandates

   the entry of summary judgment after adequate time for discovery and upon motion, against a

   party who fails to make a showing sufficient to establish the existence of an element essential

   to that party's case, and on which that party will bear the burden of proof at trial.’” Id. at *2-

   3 (citing Celotex Corp. v. Catrett, 477 U.S. 317 (1986)).

          “The moving party bears the initial burden of stating the basis for its motion for

   summary judgment and identifying those portions of the record which it believes

   demonstrates the absence of a genuine issue of material fact. The moving party meets its

   burden if it demonstrates an absence of evidence to support the nonmoving party's case. The

   burden then shifts to the nonmoving party to identify specific facts that demonstrate a

   genuine issue of material fact in order to avoid summary judgment.” Salazar v. Am. Sec. Ins.

   Co., 2014 U.S. Dist. LEXIS 132747, *4-5, 2014 WL 4792003 (internal citations and

   quotations omitted).

          “The moving party bears the initial burden of stating the basis for its motion for

   summary judgment and identifying those portions of the record ‘which it believes

   demonstrates the absence of a genuine issue of material fact.’ Celotex Corp. v. Catrett, 477



                                                   2
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 3 of 18 PageID 172




   U.S. 317, 323-24, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). The moving party meets its

   burden if it demonstrates ‘an absence of evidence to support the nonmoving party's case.’ Id.

   at 325. The burden then shifts to the nonmoving party to identify specific facts that

   demonstrate a genuine issue of material fact in order to avoid summary judgment. Id. at 324.”

   Salazar v. Am. Sec. Ins. Co., No. 8:13-cv-02002-EAK-TBM, 2014 U.S. Dist. LEXIS

   132747, at *4-5 (M.D. Fla. Sep. 22, 2014). Yet, “there is no issue for trial unless there is

   sufficient evidence favoring the nonmoving party for a jury to return a verdict for that party.

   Cities Service, supra, at 288-289. If the evidence is merely colorable, Dombrowski v.

   Eastland, 387 U.S. 82 (1967) (per curiam), or is not significantly probative, Cities Service,

   supra, at 290, summary judgment may be granted.” Anderson v. Liberty Lobby, Inc., 477

   U.S. 242, 249-50 (1986).

                                       ARGUMENT

          Said Rum is entitled to the relief sought because (I) the penalty assessed was arbitrary

   and capricious because it was not consistent with the regulations, and (II) any additions to the

   base amount was arbitrary and capricious because Plaintiff did not provide a reasoned

   explanation for the decision.

   I.     The Penalty Assessed Was Arbitrary And Capricious Because It Was Not
          Consistent With The Regulations.

          a. Plaintiff Went Above Its Delegated Authority When It Assessed FBAR
             Penalties That Exceeded The Scope Of The Financial Crimes Enforcement
             Network (“FinCEN”) Regulations.

          Agencies have no power to act unless Congress gives it that power. See Ry. Labor

   Execs.’ Ass’n v. Nat’l Mediation Bd., 29 F.3d 655, 670-71 (D.C. Cir. 1994). Congress gave

   the Treasury the power to enforce the Bank Secrecy Act (“BSA”), including the FBAR


                                                  3
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 4 of 18 PageID 173




   penalties (¶6), and that power was then delegated to FinCEN (¶7). This authority was next

   reconfirmed in subsequent Treasury Orders. ¶7. Later, FinCEN redelegated parts of its

   authority to the Internal Revenue Service (“IRS”). ¶8.

          In administering the BSA, the IRS is required, because of its delegated authority from

   FinCEN, to apply all existing regulations until they are replaced or revised. See Exhibit 1—

   Colliot Motion at p.3. Accordingly, Treasury Order 180-01, p.1 section 6.a. (Mar. 24, 2003)

   (emphasis added) states:

          All regulations prescribed, all rules and instructions issued, and all forms
          adopted for the administration and enforcement of the Bank Secrecy Act, that
          were in effect or in use on the date of the enactment of the USA Patriot Act of
          2001, shall continue in effect as regulations, rules, instructions, and forms
          of the Bureau until superseded or revised.

   The only position with the authority to issue regulations is the director of FinCEN. See id. at

   p.1 section 3. And, to reiterate, the IRS’s FBAR authority comes only from the FinCENs

   delegation of that authority, and thus the IRS is required to follow FinCEN regulations.

          The regulation 31 C.F.R. § 1010.820(g)(2) (previously numbered as 31 C.F.R.

   §103.57) is relevant and applicable to Said Rum’s case because it sets the penalty for those

   reporting foreign bank accounts (under FBAR) by limiting the maximum penalty for willful

   violations to $100,000.00. See ¶11. It states: “In the case of a violation of § 1010.350 or §

   1010.420 involving a failure to report the existence of an account or any identifying

   information required to be provided with respect to such account, a civil penalty not to

   exceed the greater of the amount (not to exceed $100,000) equal to the balance in the

   account at the time of the violation, or $ 25,000.” Id. (emphasis added).




                                                 4
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 5 of 18 PageID 174




           And yet, it is clear that Plaintiff did not follow the above regulation, as it asserted a

   penalty of $693,607 against Said Rum, which is way greater than the $100,000.00 maximum.

   ¶¶11 & 17. Plaintiff even admitted it did not follow the above regulation. ¶16. Thus,

   Plaintiff ignored this existing FBAR regulation issued by FinCEN. See ¶11. And, the IRS

   was bound to apply this regulation under its delegated authority from FinCEN. So, by

   ignoring this regulation, the IRS’s imposition of FBAR penalties was beyond its delegated

   authority.

           According to 5 U.S.C. § 706(2)(C), a reviewing court shall “hold unlawful and set

   aside agency action . . . found to be . . . in excess of statutory jurisdiction, authority, or

   limitations, or short of statutory right.” Therefore, since Plaintiff went beyond its delegated

   authority when it did not follow the governing regulations for assessing FBAR penalties, the

   penalties it assessed Said Rum must be held unlawful by this reviewing court.

           b. Since Plaintiff Did Not Use All The Valid, Binding FinCEN Regulations,
              Plaintiff’s Assessment Of Penalties Is A De Facto Arbitrary And Capricious
              Agency Action.

           Plaintiff admitted that it did not use 31 C.F.R. § 1010.820(g)(2), a valid regulation, in

   assessing penalties against Said Rum. ¶16. Plaintiff stated that

           “[t]he IRS did not use the dollar amounts set forth in 31 C.F.R. §
           1010.820(g)(2) as the potential maximum in assessing the FBAR penalties at
           issue against Defendant because it used the penalty range set forth by
           Congress in 26 U.S.C. § 5321(a)(5)(C), which supersedes the maximum range
           stated in 31 C.F.R. § 1010.820(g)(2).”

   ¶16.2


   2
    However, this case is governed by title 31 and not title 26. And, 26 U.S.C. § 5321(a)(5)(C),
   which Plaintiff cites to, does not exist. It is assumed that Plaintiff meant to cite to 31 U.S.C.
   § 5321(a)(5)(C).


                                                   5
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 6 of 18 PageID 175




          Plaintiff apparently believes that it is allowed to choose which FinCEN regulations to

   follow and which ones to ignore because there is no evidence that 31 C.F.R. § 1010.820 was

   superseded by statute or is no longer in force.

          According to two recent court opinions, 31 C.F.R. § 1010.820 still is in force. See

   United States v. Colliot, No. AU-16-CA-01281-SS, 2018 U.S. Dist. LEXIS 149765, at *2

   (W.D. Tex. Aug. 16, 2018); United States v. Wadhan, 325 F. Supp. 3d 1136, 1141 (D. Colo.

   2018) (“As a result, the IRS lacks authority to impose a penalty in excess of $100,000 as

   prescribed by 31 C.F.R.§ 1010.820.”). The court in Colliot held that the regulation prevented

   the United States from charging a penalty higher than $100,000. Colliot, 2018 U.S. Dist.

   LEXIS, at *2. A portion of the motion filed by defendant in Colliot is worth repeating in this

   motion for the Court's consideration. See Exhibit 1—Colliot Motion. The Colliot motion

   was well-reasoned, clear, and concisely set forth the argument on the issues facing the court

   in Said Rum’s case. See id. The court in Colliot adopted the reasoning contained in the brief

   cited to. See id.; see Colliot, 2018 U.S. Dist. LEXIS, at *2.

          The Court of Federal Claims’ conclusion in Norman v. United States, 138 Fed. Cl.

   189, 196 (Fed. Cl. 2018), simply is wrong because the court did not consider the amendments

   to 31 C.F.R. § 1010.820 after 2004 when it held that 31 C.F.R. § 1010.820 no longer is valid.

   The court in Norman did not address the subsequent changes to 31 C.F.R. § 1010.820 in

   2016, when FinCEN amended § 1010.820, but did not change its connection to FBAR

   penalties. See ¶14 and a full argument below. The Norman court just assumed that the

   changes in 2004 (as Plaintiffs also did here, see ¶16) superseded the regulation, when in fact

   there were changes made after 2004, and before the Norman litigation, that updated §



                                                     6
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 7 of 18 PageID 176




   1010.820 but not its inapplicability to FBAR penalties. ¶14. As argued more below, if

   FinCEN wanted § 1010.820 to be superseded by 31 U.S.C. § 5321(a), then it fourteen years

   to do so, but chose not to clarify that in its amendments. Also, none of the above cases are

   from the same circuit as this Honorable Court, and thus the issues here are of first

   impression.

          The FinCEN issued the BSA regulations dealing with civil FBAR penalties using its

   notice-and-comment rulemaking procedures under the Administrative Procedure Act (APA),

   5 U.S.C. § 553(b). ¶12. There are multiple instances where the FinCEN had the opportunity

   to change 31 C.F.R. § 1010.820, but chose not to. There are numerous amendments to the

   BSA regulations but not 31 C.F.R. § 1010.820’s applicability to FBAR penalties. For

   example:

                   [I]n 2010 FinCEN reissued the BSA regulations under Chapter X of
          Title 31, Subtitle B (issued through notice-and-comment rulemaking
          procedures) and expressly chose not to adopt any substantive changes to the
          FBAR compliance obligations and corresponding civil penalties provisions.
          See 75 Fed. Reg. 65806, at 65807 . . . , preamble excerpt). Next, in 2011,
          FinCEN amended the BSA regulations regarding FBARs (again issued
          through notice-and-comment rulemaking procedures). See 76 Fed. Reg. 10234
          . . . . Despite extensive substantive changes to the regulations, no change was
          made to the FBAR penalty provisions contained in 31 CFR §103.57 (prior to
          renumbering as 31 CFR § 1010.820).
                   In 2016, FinCEN amended 31 CFR § 1010.820 which is the specific
          regulatory section dealing with FBAR penalties. 81 Fed. Reg. 42503 . . . .
          This amendment added subsection (i) to § 1010.820 to state “For penalties
          that are assessed after August 1, 2016, see §1010.821 for rules relating to the
          maximum amount of the penalty.” In turn, § 1010.821 provides that the
          willful FBAR penalty imposed under 31 U.S.C. § 5321(a) shall be adjusted
          for inflation. “Multiplying the current maximum penalty amount of $100,000
          by the inflation factor of 1.24588 results in an inflation-adjusted maximum
          penalty amount of $124,588, when rounded to the nearest dollar.” Id. at
          42504.
                   If FinCEN wishes to revise or rescind 31 CFR § 1010.820, it must do
          so through notice and-comment rulemaking procedures. Rules issued through


                                                7
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 8 of 18 PageID 177




          the APA notice-and-comment process are “legislative rules” because they
          have the “force and effect of law.” Perez v. Mortgage Bankers Assn., 135 S.
          Ct. 1199, 1203 (2015) (quoting Chrysler Corp. v. Brown, 441 U.S. 281, 302-
          303 (1979)). The APA “mandate[s] that agencies use the same procedures
          when they amend or repeal a rule as they used to issue the rule in the first
          instance.” Id. at 1206 (citation omitted); see also 5 U.S.C. § 551(5) and §§
          553(b), (c). Because the FBAR penalty regulations were issued through
          notice-and-comment rulemaking procedures, FinCEN must similarly use such
          APA procedures to amend or repeal such rules. Until it does so, 31 CFR §
          1010.820 and its predecessor, 31 CFR § 103.57, represent valid and
          enforceable regulations.

   Exhibit 1—Colliot Motion at p.5-6.

          Plaintiff’s admission above suggests that 31 C.F.R. § 1010.820 is no longer in

   force because it was superseded by the mandatory provisions of 31 U.S.C. §

   5321(a)(5), which Said Rum argues is a misstatement and misapplication of the law.

   Although amendments to 31 U.S.C. §5321(a)(5) in 2004 authorized FinCEN to adopt

   a higher penalty, that amendment merely provides FinCEN with the discretion to

   impose a higher, maximum penalty than previously permitted. See 31 U.S.C. §

   5321(a)(5) (“Secretary of the Treasury may impose a penalty” in an amount that

   “shall not exceed” and that the “maximum penalty” is the greater of $100,000 or 50

   percent of the balance in the account). “That language does not require any minimum

   penalty amount, nor does it require the implementing federal agencies to adopt or

   impose penalties at the maximum amounts authorized by statute.” Exhibit 1—Colliot

   Motion at p.7.

                 Importantly, FinCEN, subsequent to the statutory amendment relied
          upon by the government, reissued the FBAR regulations (as described above)
          without incorporating the higher statutory maximum, and reiterating the
          preservation of the prior maximum. Moreover, when FinCEN amended §
          1010.820 in 2016, it expressly stated that “violations occurring on or before
          November 2, 2015 . . . will continue to be subject to the civil monetary


                                                8
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 9 of 18 PageID 178




          penalty amounts set forth in FinCEN’s existing regulations.” (See [81 Fed.
          Reg. 42503] at 42505). If FinCEN had wanted to exercise its Congressionally-
          delegated discretion to increase the FBAR penalty maximum (beyond the
          inflation adjustment made in 2016), it had ample opportunity to do so
          during the multiple amendments made to the BSA regulations as
          described above. Its silence in this regard is telling.
                  The Supreme Court long ago noted that the “[BSA’s] civil and
          criminal penalties attach only upon violation of regulations promulgated by
          the Secretary; if the Secretary were to do nothing, the Act itself would impose
          no penalties on anyone.” California Bankers Assn. v. Shultz, 416 U.S. 21, 26
          (1974). Moreover, through the authorizing statute, Treasury was granted broad
          discretionary authority for determining whether and how much of a civil
          penalty to impose. As the federal agency vested with sole regulatory authority
          for enforcing the penalty, FinCEN exercised such discretion by adopting
          implementing regulations through notice-and-comment rulemaking
          procedures that capped the penalty at $100,000 per violation. . . .
                  Moreover, as recent as 2012 the IRS directly cited to 31 CFR §
          1010.820 as authority for assessment of FBAR penalties in connection with
          the redelegation of such authority within the ranks of its own agency. See
          Delegation Order 25-13, ¶¶ 2 & 38 (effective April 11, 2012). . . .

   Exhibit 1—Colliot Motion at p.7-8 (emphasis added).

          Plaintiff was mistaken about the nonapplication of 31 C.F.R. § 1010.820. Plaintiff

   apparently believes that FinCEN did not have to repeal the regulation because the law

   changed. But, the regulation was re-enacted after the law was passed—as pointed out above,

   31 C.F.R. § 1010.820 was amended in 2016.           There is no reason why 31 C.F.R. §

   1010.820(g) no longer is binding law when it was amended so recently (but there was no

   change to the penalty limit), and during the litigation of Said Rum’s case. Is Plaintiff

   claiming that FinCEN purposely enacted a regulation that purposely contained language that

   should be ignored? This would make no sense and be pure speculation. The court should

   follow the written word of a regulation promulgated after enactment of the law upon which it

   is based. Therefore, Plaintiff’s claim that 31 C.F.R. § 1010.820 does not apply in the present

   case is unfounded and incorrect.


                                                 9
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 10 of 18 PageID 179




           Besides the fact that the penalty limitation has not been withdrawn or revised,

    Plaintiff cited to 31 C.F.R. § 1010.820 as authority. Indeed, the Form 13449, “Agreement to

    Assessment and Collection of Penalties under 31 U.S.C. 5321(a)(5) and 5321(a)(6),” which

    was attached to Said Rum’s Letter 3709, cites 31 C.F.R. § 1010.810(g)(2) and former 31

    C.F.R. § 103.57(g)(2) as authority for imposing the willful FBAR penalties against Said

    Rum. ¶15. This is the same regulation that purportedly provides no authority for the FBAR

    penalty amounts imposed here. See ¶16.

           The law states, under 5 U.S.C. § 706(2)(A), that “[t]he reviewing court shall . . . hold

    unlawful and set aside agency action, findings, and conclusions found to be . . . arbitrary,

    capricious, an abuse of discretion, or otherwise not in accordance with law.” The arbitrary

    and capricious standard requires the agency to engage in “reasoned decisionmaking” (Motor

    Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983)) and “examine

    the relevant data and articulate a satisfactory explanation for its action including a ‘rational

    connection between the facts found and the choice made.”’ Id. at 43 (quoting Burlington

    Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962)).             “In reviewing that

    explanation, [the court] must ‘consider whether the decision was based on a consideration of

    the relevant factors and whether there has been a clear error of judgment.”’ Id. at 43 (citing

    Bowman Transportation, Inc. v. Arkansas-Best Freight System, Inc., 419 U.S. 281, 285

    (1974); Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 416 (1971)).

           There is no way the IRS can engage in “reasoned decisionmaking” (Motor Vehicle

    Mfrs. Ass'n, 463 U.S. at 52) when it did not even consider the existing regulation (31 C.F.R.

    § 1010.810) in deciding the penalties to assess Said Rum. And, Plaintiff provided no rational



                                                  10
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 11 of 18 PageID 180




    reason or explanation why 31 C.F.R. §§ 1010.350(a) and 1010.306(c) should be applied to

    Said Rum (¶15), but not 31 C.F.R. §§ 1010.820 and 103.57. Plaintiff’s explanation that 31

    C.F.R. § 1010.820 was superseded (¶16) is incorrect, as Said Rum has laid out in the above

    arguments. Therefore, Said Rum cannot accept this as a “satisfactory explanation” (Motor

    Vehicle Mfrs. Ass'n, 463 U.S. at 43) for why an applicable regulation (31 C.F.R. § 1010.810)

    was not applied in his case.

           To summarize, the IRS admits it did not apply FinCEN FBAR regulation 31 C.F.R. §

    1010.810(g)(2) in assessing the penalty here because it believed the regulation was not in

    force. But, as articulated above, the regulation is valid and has not been withdrawn. Plaintiff

    even cited to these regulations in the Letter 3709 sent to Said Rum. See ¶15. As Plaintiff has

    stated it did not apply the applicable law (see ¶16) and did not provide any satisfactory

    explanation for its decision to deviate from the law, assessing the FBAR penalties was an

    arbitrary and capricious decision and an abuse of discretion by Plaintiff. Thus, this unlawful

    agency decision should be withdrawn.

           c. The Penalties Assessed By The IRS Are In Direct Violation Of The
              Governing Regulations.

           As stated above, FinCEN used its regulatory authority to issue the regulations for

    assessing civil penalties for FBAR reporting violations. The applicable regulation, 31 C.F.R.

    § 1010.820(g) (emphasis added), clearly states:

                  (g) For any willful violation committed after October 27, 1986, of any
           requirement of § 1010.350, § 1010.360 or § 1010.420, the Secretary may
           assess upon any person a civil penalty . . . (2) In the case of a violation of §
           1010.350 or § 1010.420 involving the failure to report the existence of an
           account or any identifying information required to be provided with respect to
           such account, a civil penalty not to exceed the greater of the amount (not to



                                                  11
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 12 of 18 PageID 181




           exceed $100,000) equal to the balance in the account at the time of the
           violation, or $25,000.

           As discussed above, 31 C.F.R. § 1010.820 was adopted (effective March 1, 2011)

    without change to its predecessor 31 C.F.R. § 103.57. Since FinCEN has made the decision

    to not adopt substantive changes 31 C.F.R. § 1010.820(g)(2) (as in changing 31 U.S.C. §

    5321(a)(5) to conform with 31 C.F.R. § 1010.820(g)(2)), the maximum penalty for willful

    violations of 31 U.S.C. § 5314 remains the regulatory maximum of $100,000.00. See Exhibit

    1—Colliot Motion at p.10. And, “[i]t is clear that ‘[a]n agency is not free to deviate from a

    valid existing rule. . . . An agency must follow its own rules.’” ACLU of Fla., Inc. v.

    Miami-Dade Cty. Sch. Bd., 439 F. Supp. 2d 1242, 1290 (S.D. Fla. 2006) (internal citation

    omitted).

           Thus, clearly the applicable FinCEN regulation for FBAR penalties was not followed

    when the IRS assessed a penalty for taxable year 2007 on Said Rum’s UBS account in the

    amount of $693,607.00 (¶17), as this penalty is much greater than FinCEN’s $100,000.00

    cap (31 C.F.R. § 1010.820(g)(2)). ¶11.

           As stated above, 5 U.S.C. § 706(2)(A) says that an agency action that is “not in

    accordance with law” must be held “unlawful and set aside.” Here, the penalty assessed

    against Said Rum was in violation of the applicable law, as it was above the maximum, and

    therefore it must be set aside.

    II.    Any Additions to the Base Amount Were Arbitrary and Capricious Because
           Plaintiff Did Not Provide A Reasoned Explanation For The Decision.

           In Moore v. United States, 2015 WL 1510007, *1 (W.D. Wash. Apr. 1, 2015), the

    court discusses what must be done when an agency deviates from their own rules, quoting 5



                                                 12
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 13 of 18 PageID 182




    U.S.C. § 555(e). The court explained specific portions of the statute, holding: “[T]he only

    portion of § 555 that is relevant is the requirement that an agency must give ‘prompt notice

    … of the denial in whole or in part of a written application, petition, or other request … made

    in connection with any agency proceeding.’” Id. at *8 (quoting 5 U.S.C. § 555(e)). The court

    elaborated further on the statute: “That portion also requires that, ‘[e]xcept in affirming a

    prior denial or when the denial is self-explanatory, the notice shall be accompanied by a brief

    statement of the grounds for denial.’” Id. (emphasis added) (quoting 5 U.S.C. § 555(e)).

           “The court will permit the Government to supplement the record to provide some

    basis for the court to conduct review of its penalty assessment.” Id. at *11. The judge added:

    “[U]nless the Government provides evidence articulating its reasons for assessing a

    maximum penalty . . . , the court will have no recourse but to hold that it acted arbitrarily

    and capriciously.” Id. (second emphasis added).

           “The IRS's refusal to disclose anything about the basis for its decision until this

    litigation, and in particular its decision to withhold Agent Batman's memorandum until after

    the court ordered it produced, was arbitrary and capricious.” Moore v. U.S., 2015 WL

    4508688, at *1 (W.D. Wash. July 24, 2015). The IRS opposed a motion to compel the

    appeals case memorandum in Moore. See id. This is similar to Said Rum’s case because

    Svetlana Wrightson’s Appeals Case Memorandum was not produced at all until discovery

    (¶26), even when it was asked for in Said Rum’s Freedom of Information Act (“FOIA”)

    request (id.). Not receiving the Appeals Case Memorandum was significant to Said Rum’s

    case because he was not able to defend himself against the IRS FBAR Appeal’s allegations.

    Said Rum did not know why the IRS charged a 50% penalty as opposed to another amount.



                                                  13
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 14 of 18 PageID 183




    The significance is not in lacking access to the particular document, but rather that this

    document provided the only possible explanation for the penalties ordered of Said Rum.

           “No citizen should have to sue his own Government to find out why he is being fined,

    or to find out why he is being fined $40,000 as opposed to a smaller amount.” Moore, 2015

    WL 4508688, at *1. The court in Moore ended up disallowing the imposition of interest and

    other charges on top of the FBAR penalties to prevent “the IRS from profiting by imposing

    penalties without explaining them.” Id. at *2.

           Moore entitles Said Rum to a brief statement explaining why he was given the 50%

    penalty. See Moore, 2015 WL 1510007, at *8. Here, nowhere in documents, including the

    Letter 3709, from the IRS to Said Rum before this litigation is there a reasonable explanation

    for why the IRS imposed a 50% willful penalty on Said Rum as opposed to another, lower

    amount. ¶23. The IRS uses the Letter 3709 for “describing the penalty that applies to” the

    taxpayer; in order words, as the explanation for why the IRS assessed a 50% penalty, as

    opposed to another amount, in Said Rum’s case. ¶21. Said Rum’s Letter 3709 stated:

                   We are proposing the assessment of a penalty under 31 U.S.C. §
           5321(a)(5) for failing to meet the filing requirements of 31 U.S.C. § 5314. For
           each calendar year, any U.S. person having one or more foreign accounts with
           maximum balances aggregating over $10,000 is required to file Form TDF 90-
           22.1, Report of Foreign Bank and Financial Accounts with the Internal
           Revenue Service by June 30th of the following year.
           ...
                   For the willful failure to file TDF 90-22.1 due on or after June 30,
           2005, the penalty cannot exceed the greater of 1.) $100,000 or 2.) 50% of the
           amount of the transaction (in such case as a violation involving a transaction)
           or the balance in the account (in such case as a violation involving a failure to
           report the existence of an account or a failure to provide identifying
           information with respect to an account).

    ¶22.



                                                  14
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 15 of 18 PageID 184




    Despite the Letter 3709’s purpose of providing Said Rum with an explanation, it does

    nothing of the sort. See ¶22. Additionally, the IRS Appeals Office told Said Rum that the

    “Reason for sustained penalty” was because: “The arguments you presented verbally and in

    writing do not support a different determination.” ¶27. However, this one simple sentence

    hardly is an explanation as to why the IRS FBAR Appeals sustained a penalty so

    significant—a penalty much larger than the $40,000 penalty in Moore. 2015 WL 4508688,

    at *1. And, this one sentence does not clarify why Appeals charged Said Rum 50% as

    opposed to a lower amount. Thus, because Plaintiff did not tell Said Rum why he was

    charged 50%, he had no opportunity to respond or contest the allegations. He did not learn

    until July 5, 2018, as a result of this litigation, why he was assessed the 50% penalty as

    opposed to another amount.

           There is no reference to the mitigation factors in the Letter 3709 (¶20), and whether

    Said Rum met these. ¶23. Clearly, for Said Rum to qualify for discretion, he needed to meet

    the   mitigation   threshold   conditions    under   Internal   Revenue     Manual   (“IRM”)

    4.26.16.4.6.1(2). ¶19. However, there is no mention in the Letter 3709 (¶23) or other

    documents received by Said Rum before this litigation that explains why he did not meet

    these mitigation threshold conditions, or even that mitigation was an option in this case. If

    Plaintiff disclosed to Said Rum the reasons for denying mitigation in his case, he could have

    had the opportunity to fight the accusations and disprove the agent’s theories.

           Also, nowhere in the Letter 3709 is there mention of the agent’s discretion to select a

    penalty amount, and why the IRS chose not to use discretion in Said Rum’s case. See ¶23.

    Multiple sections of the IRM give the FBAR Examiners discretion to impose less than the



                                                  15
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 16 of 18 PageID 185




    maximum penalty. ¶18. During the investigation of his case, Said Rum asked multiple times

    for the FBAR agents and appeals officers to use their discretion in assessing penalties against

    him. ¶25. However, he never did, before this litigation, receive an answer as to why the IRS

    employees chose to not use their discretion in assessing the penalty, even when he asked for

    them to use discretion. Id.

             Said Rum should not have to resort to litigation and the corresponding costs to get

    these answers. See Moore, 2015 WL 4508688, at *1. The IRS FBAR Appeals Agents in

    Said Rum’s case should have been aware of the requirement to provide him with a brief

    statement, as Moore, 2015 WL 1510007 (W.D. Wash. Apr. 1, 2015), was issued before Said

    Rum’s appeal was finalized. ¶28. Yet, the IRS FBAR Appeals choose to ignore the issues

    raised in Moore and allow Said Rum to receive a deficient, actually nonexistent, conclusion

    to why he was assessed a willful penalty of 50% and no discretion or mitigation were

    afforded to his case.

             In summary, Plaintiff has not provided Said Rum with a reasoned explanation, and

    thus the maximum penalty assessment against Said Rum should be deemed arbitrary and

    capricious under the judicial review provisions of 5 U.S.C. § 706(2)(A). (“The reviewing

    court shall . . . hold unlawful and set aside agency action, findings, and conclusions found to

    be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

    law.”)

                                          CONCLUSION




                                                  16
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 17 of 18 PageID 186




           In conclusion, this Honorable Court should deem the decision to not follow the

    regulation and the lack of a brief explanation arbitrary and capricious and an abuse of

    discretion under 5 U.S.C. § 706(2).

           WHEREFORE, for all the above reasons, Defendant Said Rum requests that this

    Court grant his motion for summary judgment and dismiss this case with prejudice. In the

    alternative, Said Rum asks this Honorable Court to reduce the penalties assessed to no more

    than $100,000.00 in accordance with 31 C.F.R. § 1010.820(g)(2). In addition, Said Rum

    asks this Court to deem the penalties and interest uncollectable, as an explanation was not

    provided (5 U.S.C. § 555(e)).



                                               Respectfully submitted,

    Dated: November 30, 2018                   /s/ Venar Ayar

                                               Venar Ayar
                                               Ayar Law Group
                                               Counsel for Defendant
                                               30095 Northwestern Highway, Suite 102
                                               Farmington Hills, MI 48334
                                               Phone: (248) 262-3400
                                               Fax: (248) 436-8117
                                               venar@ayarlaw.com




                                                17
Case 8:17-cv-00826-MSS-AEP Document 30 Filed 11/30/18 Page 18 of 18 PageID 187




                                  CERTIFICATE OF SERVICE


           I hereby certify that on November 30, 2018, I electronically filed the foregoing with

    the Clerk of the Court by using the CM/ECF system, which will electronically serve a true

    and correct copy upon all counsel of record.


                                                        /s/ Venar Ayar
                                                        Venar Ayar
                                                        Ayar Law Group
                                                        Attorney for Defendant
                                                        30095 Northwestern Highway, Suite 102
                                                        Farmington Hills, MI 48334
                                                        Phone: (248) 537-9447
                                                        Fax: (248) 537-9448
                                                        venar@ayarlaw.com




                                                   18
